         Case 1:12-cv-10950-RWZ Document 14 Filed 07/27/12 Page 1 of 2




                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
WEN Y. CHIANG,                      )
                                    )
                  Plaintiff         )
                                    )                      CIVIL ACTION
v.                                  )                      NO. 12-10950-RWZ
                                    )
EQUIFAX INFORMATION SERVICES, )
LLC; TRANS UNION CREDIT             )
INFORMATION; EXPERIAN               )
INFORMATION SOLUTIONS, INC.,        )
                                    )
                  Defendants.       )
____________________________________)


   NOTICE OF DISMISSAL AS TO DEFENDANT EQUIFAX INFORMATION
                          SERVICES LLC

          NOW COMES Plaintiff, Wen Y. Chiang, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), and voluntarily dismisses with prejudice the above-referenced action

against Equifax Information Services LLC, only, with each party to bear its own fees and

costs.

                                            Respectfully submitted,



                                            By:     ___/s/ Isaac H. Peres____________
                                                    Isaac H. Peres, BBO #545149
                                                    689 Massachusetts Avenue
                                                    Cambridge, MA 02139
                                                    (617) 821-9824
                                                    isaacperes@comcast.net

                                                    Counsel for Plaintiff
     Case 1:12-cv-10950-RWZ Document 14 Filed 07/27/12 Page 2 of 2



                            CERTIFICATE OF SERVICE

       This is to certify that I have this day served a true and correct copy of the

foregoing NOTICE OF DISMISSAL AS TO DEFENDANT EQUIFAX

INFORMATION SERVICES LLC by personally delivering it to the persons(s) indicated

below in the manner as provided in FRCivP 5(B)(2)(D) to the person listed below:

                                      Brian J. Olson
                                      King & Spalding
                                      1180 Peachtree Street, N.E.
                                      Atlanta, Georgia 30309
                                      (404) 215-5806
                                      (404) 572-5100
                                      bjolson@kslaw.com


Dated: July 27, 2012.

                                                     /s/ Isaac H. Peres________
                                              Isaac H. Peres




                                             2
